Case 1:12-cr-00102-TWP-TAB           Document 2087         Filed 08/19/13      Page 1 of 4 PageID #:
                                            8188



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                           )
                                                      )
                                Plaintiff,            )
                                                      )
                       v.                             ) Case No. 1:12-cr-00102-TWP-DML-20
                                                      )
  CHARLES N. ERNSTES, II (20),                        )
                                                      )
                                Defendant.            )

                ENTRY ON DEFENDANT ERNESTES’ MOTION TO SEVER

        This matter is before the Court on Defendant Charles N. Ernstes’s (“Mr. Ernstes”)

 renewed Motion to Sever (Dkt. 2055). The Court previously denied Mr. Ernstes’s motion for

 severance on May 17, 2013, but indicated it would revisit the issue at a later date (Dkt. 1670).

 Mr. Ernstes contends that joining him for trial with co-defendants is improper under Federal

 Rule of Criminal Procedure 8(b) (“Rule 8(b)”), or is otherwise improper under Federal Rule of

 Criminal Procedure 14(a) (“Rule 14(a)”). For the following reasons, Mr. Ernstes’s motion (Dkt.

 2055) is DENIED.

        Rule 8(b) provides for the joinder of defendants “if they are alleged to have participated

 in the same act or transaction, or in the same series of acts or transactions, constituting an offense

 or offenses.” The Court finds that joinder is proper in this instance. Mr. Ernstes is charged in

 Count Five with co-defendant Joshua Bowser of conspiring to participate in the extortionate

 collection of a loan. This count serves as a predicate racketeering act used by the Government to

 satisfy the “pattern of racketeering activity” element of the RICO statutes, which are included in

 Count One. Because Count Five is incorporated into Count One, joinder satisfies Rule 8(b).
Case 1:12-cr-00102-TWP-TAB           Document 2087        Filed 08/19/13      Page 2 of 4 PageID #:
                                            8189



        Rule 14(a) provides that a court may sever defendants’ trials if joinder “appears to

 prejudice a defendant or the government.” Mr. Ernstes argues that he will be prejudiced by

 spillover evidence from the other, unrelated, counts tried. He specifically notes that he is not

 implicated in the wiretap surveillance evidence the Government intends to use as evidence

 against the co-defendants. Furthermore, Mr. Ernstes argues that he will be personally prejudiced

 by the length of trial because he owns and runs a business. He asks the Court to exercise the

 Court’s judicial management discretion to alleviate the prejudice a long trial would cause.

        The Government responds that Rule 14(a) does not support severance, because it would

 defeat the interests of judicial economy and Mr. Ernstes has not established prejudice. The

 Government reiterated its previous arguments against severance that proper jury instructions can

 ameliorate potential prejudice. Further, it argues, the Seventh Circuit has rejected “evidentiary

 spillover” as a basis for severance. See United States v. Abdelhaq, 246 F.3d 990, 992 (7th Cir.

 2001) (“[A]s a basis for requiring severance, ‘evidentiary spillover’ has been rejected.”).

 Finally, the Government argues that any prejudice to Mr. Ernstes’s business does not implicate a

 “specific trial right” that would require severance.

        The Court finds that Mr. Ernstes has not established prejudice that would strip him of a

 fair trial. For severance under Rule 14(a), a defendant “must be able to show that the denial of

 severance caused him actual prejudice in that it prevented him from receiving a fair trial.”

 United States v. Carter, 695 F.3d 690, 700–01 (7th Cir. 2012). “Even if the defendants can show

 prejudice, that alone may not necessarily suffice for them to prevail; limiting instructions will

 often cure any risk of prejudice, and tailoring relief from prejudice is within the district court’s

 discretion.” Id. at 701. Although the jury will hear evidence not applicable to Mr. Ernstes, the

 Court will instruct the jury to consider only evidence relevant to Count Five as applicable to Mr.



                                                  2
Case 1:12-cr-00102-TWP-TAB          Document 2087         Filed 08/19/13     Page 3 of 4 PageID #:
                                           8190



 Ernstes. Moreover, judicial economy favors joint trials, especially whereas here, the evidence

 against Mr. Ernstes is identical to the evidence against co-defendants to support a racketeering

 act under Count One. Finally, the Court is sympathetic that a long trial may affect Mr. Ernstes’s

 business, but given the interest in judicial economy, the Court will not use Mr. Ernstes’s business

 as independent grounds to sever. The Court previously notified parties of the trial schedule (Dkt.

 2040), which may alleviate pressure on Mr. Ernstes’s business.

        Accordingly, Mr. Ernstes’s Motion to Sever (Dkt. 2055) is DENIED. Mr. Ernstes will

 be tried as scheduled, beginning Monday, September 9, 2013.


        SO ORDERED.


       08/19/2013
 Date: ________________
                                                     ________________________
                                                     Hon. Tanya Walton Pratt, Judge
                                                     United States District Court
                                                     Southern District of Indiana

 DISTRIBUTION:

 Brent Westerfeld                                     Larry A. Mackey
 bwesterfeld@wkelaw.com                               BARNES & THORNBURG LLP
                                                      larry.mackey@btlaw.com
 Gustin J. Raikos
 gusto66@hotmail.com                                  Mark D. Stuaan
                                                      BARNES & THORNBURG LLP
 James C. McKinley                                    mstuaan@btlaw.com
 ATTORNEY AT LAW
 jmckinley@justice.com                                Anthony B. Ratliff
                                                      DONINGER TUOHY & BAILEY LLP
 Michael Eugene Allen                                 aratliff@dtblegal.com
 ATTORNEY AT LAW
 mallenatty@aol.com                                   Thomas A. Brodnik
                                                      DONINGER TUOHY & BAILEY LLP
 Richard Mark Inman                                   tbrodnik@dtblegal.com
 ATTORNEY AT LAW
 markinman13@aol.com



                                                 3
Case 1:12-cr-00102-TWP-TAB   Document 2087   Filed 08/19/13   Page 4 of 4 PageID #:
                                    8191



 Gwendolyn M. Beitz
 INDIANA FEDERAL COMMUNITY
 DEFENDERS
 gwendolyn_beitz@fd.org

 Monica Foster
 INDIANA FEDERAL COMMUNITY
 DEFENDERS
 monica_foster@fd.org

 Bradley A. Blackington
 UNITED STATES ATTORNEY’S OFFICE
 bradley.blackington@usdoj.gov

 Doris Pryor
 UNITED STATES ATTORNEY’S OFFICE
 doris.pryor@usdoj.gov




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